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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF INDIANA
                            INDIANAPOLIS DIVISION

  ESTATE OF TAMMY PEREZ by its                   )
  administrator, SHERYL PEREZ,                   )
                                                 )
                             Plaintiff,          )
                                                 )
                        v.                       )     No. 1:16-cv-00645-SEB-DLP
                                                 )
  MORGAN COUNTY SHERIFF,                         )
  ADVANCED CORRECTIONAL                          )
  HEALTHCARE, INC.,                              )
  ANITA BURNAM,                                  )
  RACHEL MUNDY,                                  )
  BOBBIE ANTHIS,                                 )
  MALLORY SCHWAB,                                )
  ERIC MULLIKIN,                                 )
  VIENNA MARTIN,                                 )
  JARED SMITH,                                   )
  KRIS DARLING,                                  )
  ROBERT ANDREWS,                                )
  DR. RONALD EVERSON,                            )
  BRIGHTON SICHTING,                             )
  ANDREW MOORE,                                  )
  NICHOLAS SMITH,                                )
                                                 )
                             Defendants.         )
                                                 )



           Order Directing Filing of Documents Authorizing Dismissal

        The Court has been advised by counsel that a settlement has been reached in

  this action. Therefore, all pending motions, if any, are now DENIED AS MOOT

  and all previously ordered dates relating to discovery, filings, schedules,

  conferences, and trial, if any, are VACATED.
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        Within thirty (30) days of the date of this entry, counsel for the Plaintiff shall

  file a motion to dismiss this cause and submit an order for the Court’s signature

  ordering the dismissal of this action or a stipulation of dismissal (consistent with

  the agreement of the parties). Additional time to complete the execution of the

  settlement documents may be granted for good cause shown, if requested in writing

  before expiration of this period.

        So ORDERED.




        Date: 10/27/2018




  Distribution:

  All ECF-registered counsel of record via email
